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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Sherrie Robinson,

                    Plaintiff,                          Case No.: 1:19-cv-03887

       vs.                                              Honorable Edmond E. Chang

DeVille Asset Management LTD,
                                                        STATUS REPORT
                    Defendant.




   1. The Nature of the Case:

       a. Attorneys of record:

             •   Brian J. Olszewski representing Plaintiff.

             •   Counsel for Defendant DeVille Asset Management LTD has not yet appeared.

       b. Jurisdictional basis for case: Jurisdiction of this court arises under 15 U.S.C.

             §1692k(d). This is an action brought by a consumer, alleging violations of the Fair

             Debt Collection Practices Act.

       c. Nature of claims:

                 This case revolves around violations for the Fair Debt Collection Practices Act 15

                 U.S.C. § 1692 et seq. (“FDCPA”). Defendant is attempting to collect a consumer

                 type debt allegedly owed by Plaintiff to Alta College in the amount of $1,685.00

                 (“the alleged Debt”). Plaintiff disputes the alleged Debt. On July 10, 2018, Plaintiff

                 obtained her Trans Union credit disclosure and noticed Defendant reporting the

                 alleged Debt. On or about September 21, 2018, Plaintiff sent Defendant a letter


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          disputing the alleged Debt. On September 29, 2018, a prospective lender,

          Synchrony/PayPal, obtained Plaintiff’s Trans Union credit disclosure. On

          November 27, 2018, Plaintiff obtained her Trans Union credit disclosure, which

          showed that Defendant failed or refused to flag the account reflected by the alleged

          Debt as disputed, in violation of the FDCPA. On December 29, 2018, Capital One

          Auto Finance, another prospective lender, obtained Plaintiff’s Trans Union credit

          disclosure. On March 18, 2019, Plaintiff obtained another Trans Union credit

          disclosure, which showed that Defendant continued to report the associated account

          without the dispute notation, in violation of the FDCPA.

   d. Principal Legal and Factual Issues:

          •   Whether Defendant’s foregoing acts have violated 15 U.S.C. § 1692(e) by

              reporting any person credit information which is false or which is known to be

              false including failing to report a disputed debt as disputed.

          •   The amount of damages, if any, to which Plaintiff is entitled.

   e. Relief Sought: Plaintiff seeks statutory damages, actual damages, costs, reasonable

      attorneys’ fees and correction of the inaccurate reporting on Plaintiff’s credit reports.

2. Pending Motions and Case Plan:

   a. Service: The Defendant has been served with the complaint.

   b. Pending Motions: Currently there are no pending motions.

   c. Mandatory Initial Discovery Pilot Project:

              i. Discovery will be needed on all allegations, claims, theories of liability,

                 damages alleged in the Complaint.




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                ii. Defendant has not filed a responsive pleading. Plaintiff will serve its

                   Mandatory Initial Discovery disclosures and ESI disclosures within thirty

                   (30) days of Defendant filing its responsive pleading.

              iii. Since Defendant has not appeared or been in contact with Plaintiff, Plaintiff

                   has not been able to discuss mandatory initial discovery responses with

                   Defendant.

              iv. Since Defendant has not yet appeared, Plaintiff requests that the Court

                   postpone setting a deadline for the issuance of written discovery requests.

                v. Since Defendant has not yet appeared, Plaintiff requests that the Court

                   postpone setting a fact discovery completion date.

              vi. Plaintiff does not anticipate the need for expert discovery.

             vii. Since Defendant has not yet appeared, Plaintiff requests that the Court

                   postpone setting a date for the filing of dispositive motions.

   d. Jury Trial: Plaintiff has requested a jury trial. Plaintiff estimates that trial will take 2-

      3 days.

   e. Service of Pleadings: Plaintiff agrees to service of pleadings and other papers by

      electronic means under Federal Rule of Civil Procedure 5(b)(2)(E).

3. Consent to Proceed Before a Magistrate Judge:

      a. All parties do not consent to proceed before a magistrate judge for all purposes.

4. Status of Settlement Discussions:

          No settlement discussions have occurred as Counsel for Defendant has yet to

          appear. Plaintiff believes it would not be appropriate to schedule a settlement

          conference at this time.



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Respectfully submitted,                            Date: July 17, 2019



/s/ Brian J. Olszewski
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                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that on July 17, 2019 I filed the foregoing Status Report through

the Court’s CM/ECF system, which will cause electronic notification of this filing to be sent to all

parties who have appeared as of the time of the filing.




                                                     By: /s/ Brian J. Olszewski
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